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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


                                     JOINT STATUS REPORT

       In accordance with the Court’s August 31, 2021 Order, Google and Yelp Inc. (“Yelp”)

provide this status report regarding outstanding discovery issues. As set forth in Google and

Yelp’s last Joint Status Report on September 14, 2021 [Docket No. 210], Google and Yelp have

continued to meet and confer regarding the issues raised during the August 31, 2021 status

conference: (1) Yelp’s response to Google’s search term proposal; and (2) production from a

proposed custodian in a public policy role at Yelp.
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       Google and Yelp are at an impasse regarding Google’s request for production of

documents from one proposed custodian in a public policy role at Yelp. For the reasons set forth

in Google’s prior briefing on August 31, 2021 [Docket Nos. 190, 195], Google believes this

custodian’s documents should be produced. Yelp opposes production of documents from this

custodian on grounds for which the parties propose to file briefs. The parties have conferred in

good faith, but are not in agreement regarding proposed dates.

              Google proposes the following briefing schedule: (1) Google will submit its

               opening brief by October 1; (2) Yelp will submit its opposition brief by October

               8; and (2) Google will submit its reply by October 13.

              Yelp proposes the following briefing schedule: (1) Google will submit its opening

               brief by Oct. 1; (2) Yelp will submit its opposition brief by Oct. 15; and (2)

               Google will submit its reply by Oct. 20.

       With regard to search term hit reports for six additional custodians, Yelp provided its

initial search term report to Google as agreed on September 23. Yelp anticipates that it will

provide a revised hit report to Google by September 27, and the parties will meet and confer

prior to the September 28 status conference.


Dated: September 24, 2021

                                               Respectfully submitted,

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